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                               In the
               United States Court of Appeals
                      For the Eleventh Circuit

                        ____________________

                             No. 23-12469
                        ____________________

      LISA BAKER,
      JACQUELINE DOUGHERTY,
      KEYANNA JONES,
      AMELIA WELTNER,
                                               Plaintiﬀs-Appellees,
      versus
      CITY OF ATLANTA,


                                            Defendant-Appellant,


      STATE OF GEORGIA,


                                                       Defendant.
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      2                      Order of the Court                23-12469

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                Appeal from the United States District Court
                   for the Northern District of Georgia
                   D.C. Docket No. 1:23-cv-02999-MHC
                         ____________________

      Before JORDAN, GRANT, and LUCK, Circuit Judges.
      BY THE COURT:
             Defendant-Appellant’s motion to stay the district court’s
      July 27, 2023, order is GRANTED. See Nken v. Holder, 556 U.S. 418,
      434 (2009).
